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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

                         AMENDED TRIAL NOTICE AND
                           FINAL PRETRIAL ORDER


        USA v. Okwuchukwu Emmanuel Jidoefor (16-cr-340(4)) has been scheduled
for trial before Judge Michael J. Davis. Trial and Jury selection will begin Tuesday,
June 21, 2022, at 9:00 a.m. in Courtroom 13E located in the Diana E. Murphy U.S.
Courthouse, 300 South 4th Street, Minneapolis, Minnesota. The parties may be
notified if an earlier trial date becomes available.


                            PRETRIAL CONFERENCE

       A pretrial conference will be conducted by Judge Davis in Courtroom 13E
located in the Diana E. Murphy U.S. Courthouse, 300 South 4th Street, Minneapolis,
Minnesota, on Thursday, June 16, 2022, at 1:00 p.m. All attorneys who will try the
case must attend.

                        INSTRUCTIONS FOR ALL CASES

1.    Submitting Documents. All documents must be filed electronically. Two
      courtesy copies of every document must be delivered to the chambers of Judge
      Davis. Judge Davis prefers those courtesy copies to be three‐hole punched and
      unstapled (and, if warranted, appropriately tabbed). Trial briefs (in MS Word),
      witness lists, exhibit lists, proposed voir dire (in MS Word), proposed jury
      instructions (in MS Word), proposed verdict forms (in MS Word), and proposed
      orders on motions in limine (in MS Word), shall also be e‐mailed to chambers
      email address at: davis_chambers@mnd.uscourts.gov.

2.    Trial Briefs.

      a.     Trial briefs shall be submitted by Wednesday, June 1, 2022.

      b.     The Government shall send Chambers an electronic copy of their trial brief
             to the Chambers e‐mail address. Defense counsel may respond with
             objections or suggested changes. Please make sure to send the document in
             MS Word and copy the Defense counsel on the e‐mail.
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3.   Exhibits.

     a.    By Wednesday, May 25, 2022, the parties must exchange lists of the
           exhibits that they intend to offer at trial and make those exhibits available
           to the other parties for examination and copying.

     b.    By Wednesday, June 1, 2022, each party must file its exhibit list and
           provide two courtesy copies to the Court.

     c.    Plaintiff must mark its first exhibit as “P‐1” and number the others
           sequentially. Defendant must mark its first exhibit as “D‐1” and do
           likewise. The case number must appear on each exhibit.

     d.    Only exhibits that are identified on the exhibit list may be offered at trial,
           unless the omission is excused for good cause.

     e.    Parties shall provide the Court with 2 binders of exhibits on the first day of
           trial. One binder is for the Judge; another is for the witness stand.

     f.    Prior to deliberating, the parties shall provide the Court with final exhibit
           lists with all the admitted exhibits only. The list shall be filed and go back
           to the jury deliberation room to assist in reviewing the exhibits. The final
           exhibit list may not include contested descriptions of exhibits.

     g.    Within 7 days after the trial, the parties must submit to the Court a disk or
           thumb drive containing copies of all exhibits that were admitted at trial.


4.   Witness Lists.

     a.    By Wednesday, May 25, 2022, the parties must exchange lists of the
           witnesses whom the parties intend to call at trial, as well as a brief
           description of the substance of the expected testimony of each witness. No
           person who is not identified on a party’s witness list may testify at trial,
           unless the omission is excused for good cause.

     b.    By Wednesday, June 1, 2022, each party must file its witness list
           (restricted) and provide two courtesy copies to the Court.




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5.   Motions in Limine.

     All motions in limine must be filed by Wednesday, June 1, 2022, and responses
     to all such motions must be filed by Friday, June 3, 2022. The parties must
     respond to all motions in limine.

6.   Proposed Voir Dire.

     Proposed Voir Dire Questions shall be submitted on or before Wednesday,
     June 1, 2022. Proposed voir dire questions shall also be e-mailed to chambers e-
     mail box.

7.   Proposed Jury Instructions.

     a.    No later than Wednesday, May 25, 2022, the parties must exchange
           proposed jury instructions. The parties must then meet and confer and make
           every effort to resolve disagreements over those proposed instructions.

     c.    Parties shall submit a set of jointly proposed jury instructions by
           Wednesday, June 1, 2022. A Word version of the proposed instructions
           must be emailed to Judge Davis’s chambers.

           i.     Each proposed instruction must be numbered, appear on a separate
                  page, and identify supporting legal authority.

           ii.    Any citation to a set of model jury instructions or a jury‐instruction
                  treatise must be to the current version of the cited source unless a
                  party has good cause to cite an older version and explains why it is
                  citing the older version.

8.   Proposed Special Verdict Form.

     No later than Wednesday, May 25, 2022, the parties must exchange proposed
     special verdict forms. The parties must then meet and confer and make every
     effort to resolve disagreements over the proposed special verdict form. If the
     parties reach agreement, the proposed form must be filed by Wednesday, June 1,
     2022. If they do not reach agreement, the parties must file their own proposed
     forms by Wednesday, June 1, 2022. A Word version of the proposed special
     verdict form must be emailed to Judge Davis’s chambers.




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9.    Daily transcripts.

      If any party intends to order daily transcripts of the trial, that party should contact
      Judge Davis’s Courtroom Deputy, Gerri Rishel (612-664‐5070), as soon as
      possible, so that she can make arrangements for court reporters to assist during the
      trial.




Dated: May 16, 2022                              s/Michael J. Davis
                                                 Judge Michael J. Davis
                                                 United States District Court




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